                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

 UNITED STATES OF AMERICA                          )
                                                   )      Case No. 1:13-cr-89
 vs.                                               )
                                                   )      JUDGE MATTICE
 GUY WILKERSON, JR.                                )



                               MEMORANDUM AND ORDER

         GUY WILKERSON, JR. (“Supervised Releasee”) appeared for an initial appearance
 before the undersigned on January 6, 2015 and January 9, 2015, in accordance with Rule 32.1 of
 the Federal Rules of Criminal Procedure on the Petition for Warrant for Offender Under
 Supervision (“Petition”). Those present for the hearing included:

               (1) An Assistant United States Attorney for the Government.
               (2) The Supervised Releasee.
               (3) Attorney Gianna Maio for defendant.

        After being sworn in due form of law, the Supervised Releasee was informed or
 reminded of his privilege against self-incrimination accorded him under the 5th Amendment to
 the United States Constitution.

         It was determined the Supervised Releasee wished to be represented by an attorney and
 he qualified for the appointment of an attorney to represent him at government expense.
 Federal Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent the
 defendant. It was determined the Supervised Releasee had been provided with a copy of the
 Petition and the Warrant for Arrest and had the opportunity of reviewing those documents with
 his attorney. It was also determined he was capable of being able to read and understand the
 copy of the aforesaid documents he had been provided

        The Supervised Releasee asked for more time in which to prepare for his preliminary
 hearing and detention hearing. The Court rescheduled the preliminary hearing and detention
 hearing for Friday, January 9, 2015.

        At the January 9, 2015, hearing, the government called USPO Shaquana Kennedy as a
 witness and moved that the defendant be detained pending the revocation hearing.

                                           Findings

        (1)   Based upon USPO Kennedy’s testimony, the undersigned finds there is

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Case 1:13-cr-00089-TRM-CHS         Document 686        Filed 01/09/15    Page 1 of 2    PageID
                                         #: 4387
       probable cause to believe defendant has committed violations of his conditions of
       supervised release as alleged or set forth in the Petition.

       (2) The defendant has not carried his burden under Rule 32.1(a)(6) of the Federal
       Rules of Criminal Procedure, that if released on bail he will not pose a danger to the
       community.

                                           Conclusions

       It is ORDERED:

       (1) The motion of the government that the defendant be DETAINED WITHOUT
           BAIL pending the revocation hearing before U.S. District Judge Harry S.
           Mattice, Jr. is GRANTED.

       (2) The U.S. Marshal shall transport Supervised Releasee to a revocation hearing
           before Judge Mattice on Monday, February 2, 2015, at 9:00 am.

       ENTER.

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                                              UNITED STATES MAGISTRATE JUDGE




                                                 2



Case 1:13-cr-00089-TRM-CHS          Document 686         Filed 01/09/15      Page 2 of 2        PageID
                                          #: 4388
